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 1                               AFFIDAVIT OF RYAN C. SMITH
 2 STATE OF WASHINGTON                       )
                                             )    ss
 3
     COUNTY OF WHATCOM                       )
 4
 5         I, Ryan C. Smith, being first duly sworn on oath, depose and say:
 6                                          I.   INTRODUCTION
 7         1.       I make this affidavit in support of an application for warrants authorizing
 8 the search and examination of three devices in evidence at the Drug Enforcement
 9 Administration (DEA) Bellingham Resident Office. These devices are further described
10 below and in Attachment A (attached hereto and incorporated by reference as if fully set
11 forth herein). I am seeking authorization to search for evidence, fruits and
12 instrumentalities of the crimes of Conspiracy to Distribute Controlled Substances and
13 Possession with Intent to Distribute Controlled Substances, in violation of 21 U.S.C.
14 §§ 841(a)(1) and 846; Money Laundering, in violation of 18 U.S.C. §1956; and
15 Possession of a Firearm in Furtherance of Drug Trafficking Offenses, in violation of 18
16 U.S.C. § 924(c).
17         2.       The devices I am seeking warrants to search are:
18                  a.     Target Device 1 is a black ZTE flip phone, which was seized
19 pursuant to a search warrant on June 13, 2019, from a vehicle registered to Jose LUGO.
20 Target Device 1 was assigned DEA exhibit number N-902 and is currently stored as
21 evidence at the DEA Bellingham Resident Office, 1855 Barkley Blvd, Bellingham,
22 Washington 98226. I am requesting to search Target Device 1 for the items listed in
23 Attachment B1 (attached hereto and incorporated by reference as if fully set forth herein).
24                  b.     Target Device 2 is a SanDisk thumb drive, which was seized
25 pursuant to a search warrant on August 16, 2019, from behind an office door at the
26 residence of Bradley WOOLARD, located at 9717 99th Avenue Northeast, Arlington,
27 Washington. Target Device 2 was assigned DEA exhibit number N-304 and is currently
28 stored as evidence at the DEA Bellingham Resident Office. I am requesting to search
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 1 Target Device 2 for the items listed in Attachment B2 (attached hereto and incorporated
 2 by reference as if fully set forth herein).
 3                   c.    Target Device 3 is an Olympus camera, which was seized pursuant
 4 to a warrant on August 16, 2019, from a box in front of the shelves in the playroom at the
 5 residence of Bradley WOOLARD, located at 9717 99th Avenue Northeast, Arlington,
 6 Washington. Target Device 3 was assigned DEA exhibit number N-316 and is currently
 7 being stored as evidence at the DEA Bellingham Resident Office. I am requesting to
 8 search Target Device 3 for the items listed in Attachment B2 (attached hereto and
 9 incorporated by reference as if fully set forth herein).
10          3.       Based upon my training and experience and discussions with other
11 investigators, I know that Target Devices 1 through 3 have been stored in a manner in
12 which their contents are, to the extent material to this investigation, in substantially the
13 same state as they were when these Target Devices first came into the possession of the
14 DEA.
15                                  II.     AGENT BACKGROUND
16          4.       I am an “investigative or law enforcement officer of the United States”
17 within the meaning of Title 18, United States Code, Section 2510(7). I am a Special
18 Agent with the Drug Enforcement Administration (“DEA”), assigned to the Bellingham,
19 Washington Resident Office. In that capacity, I investigate violations of the Controlled
20 Substances Act (Title 21, United States Code, Section 801, et seq.). I have been
21 employed as a Special Agent with the DEA since March 2017. Prior to becoming a
22 Special Agent, I was a detective in the Special Victims Unit, a police motorcycle officer,
23 and a police patrol officer with the Hoover Police Department in Hoover, Alabama. I
24 have participated in numerous narcotics investigations, during the course of which I have
25 participated in physical surveillance and executions of search warrants.
26          5.       I have completed the DEA Basic Agent Training Course as well as other
27 training courses related to gangs and narcotics trafficking. I have participated in
28 narcotics investigations at both the local and federal level, and I have participated in the
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 1 execution of federal search warrants. As a result, I have become familiar with methods of
 2 operation of drug traffickers and organizations. As a Special Agent with the DEA, I have
 3 the responsibility of working with other federal and state law enforcement officers in
 4 investigations of violations of federal and state controlled substance laws, including the
 5 investigation of violations related to cocaine, fentanyl, methamphetamine, heroin, and
 6 other dangerous drugs.
 7         6.       I have participated in the debriefing of defendants, witnesses, and
 8 informants, during which time I have discussed with them their methods of drug
 9 smuggling, distribution, packaging, trafficking, avoiding law enforcement, and
10 laundering proceeds, among other concerns related to drug trafficking. I have discussed
11 and learned from other law enforcement investigators in regards to these matters as well.
12 Based on my training, experience, and conversations with other experienced narcotics
13 investigators, I have gained insight into the techniques and methods used by drug
14 traffickers to distribute controlled substances, their use of cellular phones and other
15 electronic communications to facilitate their trafficking activity, and the methods used to
16 conceal and launder the proceeds of said activity.
17         7.       The facts in this affidavit come from my personal observations, my training
18 and experience, and information obtained from other agents and witnesses. My
19 specialized training and experience in drug investigations form a basis for my opinions
20 and conclusions, which I drew from the facts set forth herein.
21                           III.    SUMMARY OF INVESTIGATION
22         A.       Summary of this Conspiracy and the Charges
23         8.       This case is pending trial. This case arises from a DEA investigation that
24 began in the spring of 2018. On September 13, 2018, a federal grand jury in the Western
25 District of Washington returned a five-count indictment (Case No. CR18-217RSM)
26 charging Bradley WOOLARD and Griffin THOMPSON with Conspiracy to Distribute
27 Controlled Substances (Furanyl-fentanyl), Possession of Furanyl fentanyl with Intent to
28 Distribute, and, as to WOOLARD, being a felony in possession of firearms and
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 1 possessing firearms in furtherance of a drug trafficking offense. On June 12, 2019, the
 2 grand jury returned a Superseding Indictment charging Bradley WOOLARD, Anthony
 3 PELAYO, Shawna BRUNS, Robert TABARES, Keith STRAND and Adrian
 4 BERGSTROM in United States v. Woolard, et al., with Conspiracy to Distribute
 5 Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846
 6 (Count 1), Money Laundering Conspiracy, in violation of 18 U.S.C. §§ 1956(a)(2)(A)
 7 and 1956(h), and substantive drug trafficking and money laundering offenses.
 8 WOOLARD and PELAYO were also charged with firearms offenses.
 9         9.       On January 14, 2020, the grand jury returned a Third Superseding
10 Indictment in United States v. Woolard, et al. containing 46 total counts against seven
11 defendants: WOOLARD, PELAYO, TABARES, Timothy MANTIE, Jerome ISHAM,
12 Andrew TONG, and Jose Feliciano LUGO. All defendants but TONG are charged with
13 Conspiracy to Distribute Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1),
14 841(b)(1)(A) and 846 (Count 1). The Third Superseding Indictment includes substantive
15 drug trafficking and firearms charges against WOOLARD, PELAYO, ISHAM and
16 LUGO, and charged PELAYO and TONG with Conspiracy to Commit Money
17 Laundering, in violation of 18 U.S.C. §§ 1956(a)(1)(B)(i), 1956(a)(1)(B)(ii) and 1957
18 (Count 35); it also includes substantive counts of Money Laundering against all
19 defendants but Isham and Lugo, in violation of 18 U.S.C. §§ 1956(a)(1)(B)(i) and 2. 13.
20         10.      THOMPSON, STRAND, BERGSTROM, and BRUNS have pleaded
21 guilty. BERGSTROM was sentenced on March 6, 2020 to 14 months in prison for his
22 role in the drug conspiracy. The other three are awaiting sentencing. Trial for the
23 remaining seven defendants is scheduled for June 8, 2020 in U.S. District Court in
24 Seattle, before Chief Judge Ricardo Martinez.
25         11.      In short, this investigation has given probable cause to believe that
26 WOOLARD (and, possibly others) ordered the fentanyl over the internet from China.
27 Once WOOLARD and/or his coconspirators received the powdered fentanyl through the
28 mail, WOOLARD caused the fentanyl to be pressed into fentanyl-laced counterfeit
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 1 oxycodone pills, by Anthony PELAYO. Once pressed into pills, WOOLARD, PELAYO,
 2 Timothy MANTIE and others distributed these pills into the community.
 3         B.      Summary of the Use of Digital Devices in this Conspiracy
 4         12.     This investigation has also given probable cause to believe that the
 5 conspirators use electronic/digital devices to further their crimes, and to store evidence of
 6 their crimes. In July and August 2018, investigators executed multiple federal search
 7 warrants at WOOLARD’s residence, located at 9717 99th Avenue Northeast, Arlington,
 8 Washington (hereinafter the “WOOLARD Residence”). Pursuant to those search
 9 warrants, investigators seized approximately 10,000 light blue pills marked “M30” which
10 tested positive for furanyl fentanyl, a fentanyl analogue. Investigators also seized
11 numerous items during the searches of the WOOLARD Residence and outbuildings,
12 including 33 firearms (the majority of which were concealed in a hidden room in a shop
13 on the property), thousands of rounds of ammunition, approximately $1.1 million in
14 suspected drug proceeds concealed in various locations throughout the WOOLARD
15 residence and in the shop areas on the property, and cell phones, including an Apple
16 iPhone. Investigators seized multiple documents from the WOOLARD Residence
17 referencing telephone number (360) 395-5222 and email: bradwoolard79@gmail.com, as
18 being used by WOOLARD.
19         13.     Investigators searched the iPhone and iPad seized from the WOOLARD
20 Residence pursuant to search warrants. Investigators learned this iPhone was assigned
21 (360) 395-5222 and Apple ID bradwoolard@ymail.com. Two email accounts were
22 synced with this iPhone, bradwoolard@ymail.com and bradwoolard79@gmail.com.
23 Review of emails on this phone revealed email exchanges between WOOLARD, using
24 bradwoolard79@gmail.com, and individuals who appeared to be based in China. In these
25 emails, WOOLARD and the China-based individuals openly discussed WOOLARD
26 attempting to obtain various chemical substances, including fentanyl and furanyl
27 fentanyl, from China.
28
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 1          14.    Investigators discovered that the iPad had a listed owner of “Brad’s iPad”
 2 and an Apple ID of bradwoolard@ymail.com. In this iPad investigators located
 3 numerous messages between WOOLARD and PELAYO in which WOOLARD was
 4 providing PELAYO with a recipe on how to mix “active,” which investigators believe to
 5 be fentanyl or a fentanyl analogue, to press into pills. Additionally, investigators
 6 identified a photograph sent to WOOLARD by PELAYO which appeared to depict a pill
 7 press.
 8          15.    Investigators subsequently conducted a search warrant at PELAYO’s
 9 residence and obtained an additional search warrant for cell phones seized from
10 PELAYO’s person. During the search of those phones, investigators identified
11 approximately 135,000 messages between PELAYO and charged co-conspirator Andrew
12 TONG. In those messages, they discussed the laundering of PELAYO’s drug proceeds,
13 which included the structured deposits of cash into PELAYO’s accounts, as well as
14 PELAYO’s purchase of an RV, which was purchased in TONG’s name.
15          16.    In light of the investigation to date, to include the seizures from the
16 WOOLARD and PELAYO residences, the known contact between PELAYO and LUGO,
17 the records discussed herein, and the results of the search warrant at LUGO’s residence
18 and car, there is probable cause to believe that evidence, fruits, and instrumentalities of
19 WOOLARD’s, PELAYO’s, and LUGO’s drug dealing activities will be found in the
20 Target Devices listed above in paragraph one.
21                          IV.    SUMMARY OF PROBABLE CAUSE
22          17.    As discussed herein, DEA is investigating fentanyl trafficking and related
23 offenses in the Western District of Washington and elsewhere, by Bradley WOOLARD
24 and his criminal associates. The investigation is ongoing. Based on my training and
25 experience, and information relayed to me by other law enforcement personnel, I know
26 that fentanyl is a Schedule II narcotic and a highly a dangerous drug. Fentanyl is a
27 synthetic opioid that is 50 times more toxic than heroin.
28
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1                    Execution of Multiple Search Warrants of the WOOLARD Residence
                     (July and August 2018).
2
            18.      On July 28, 2018, the Honorable Mary Alice Theiler signed a search
3
     warrant authorizing the search of 9717 99th Avenue Northeast, Arlington, Washington
4
     (the WOOLARD Residence), i.e., the residence of WOOLARD, Shawna Marie BRUNS
5
     (WOOLARD’s wife), and their minor children. During the execution of the search
6
     warrant that day, investigators found approximately 10,000 counterfeit Percocet pills
7
     located in the office of the main residence. In this office, there were numerous documents
8
     with the name Bradley WOOLARD. Additionally seized from the office was a small
9
     container of blue dye, which investigators suspect could have been used by WOOLARD
10
     in the process of pressing white fentanyl powder and binding materials into counterfeit
11
     M30 pills. These pills were submitted to the DEA laboratory for testing and the
12
     laboratory counted 12,389 pills and indicated that they tested positive for furanyl
13
     fentanyl.
14
            19.      Investigators also found approximately $400,000 in cash located in two
15
     safes, one in the office and one in the master bedroom closet. Items of dominion and
16
     control with WOOLARD’s name were found in the office and master bedroom.
17
            20.      During the July 28 search of the WOOLARD Residence, investigators
18
     seized two shipping labels from the trash in the office. One shipping label had the sender
19
     and recipient removed but described the contents as “Lab supplies” with a weight of 0.1
20
     kilograms, a value of $5.00 and goods’ origin of “CN”. A second shipping label was
21
     largely intact and also listed the contents as “Lab supplies” with the same weight, value
22
     and goods’ origin. This shipping label showed “Danette Skelton” and “32326 Mountain
23
     Loop Hyway, Granite Falls WA USA 98252” as the “ship to” information and the “from”
24
     information listed “Wuzong Hui” and “China 61 Jianning Road No. 3 Building 1502
25
     Room GulouQu, Nanjing Jiangsu 210000.” Additionally the shipping labels listed
26
     tracking number LS508043116CN. According to the USPS website, this package was
27
     delivered to the Granite Falls address on January 29, 2018.
28
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1           21.     On August 16, 2018, the computer and other digital devices present in the
2 WOOLARD Residence, including an Apple iPhone and iPad were seized pursuant to a
3 federal search warrant that had been issued by U.S. Magistrate Judge Paula L. McCandlis
4 on August 15, 2018. Searches of WOOLARD’s iPhone and iPad are discussed below. In
5 addition to the iPad and iPhone, Target Device 2 and Target Device 3 were, amongst
6 other items, also seized during the August 16, 2019, search of the WOOLARD residence.
7                   Two Packages of Fentanyl Shipped from China Intercepted by Law
                    Enforcement (August 2018).
8
            22.     As discussed above, the shipping labels found in the WOOLARD
9
     Residence listed the “from” information as “Wuzong Hui” and “China 61 Jianning Road
10
     No. 3 Building 1502 Room GulouQu, Nanjing Jiangsu 210000.” Investigators identified
11
     two additional parcels that were en route to Western Washington from the same shipper
12
     as listed on packaging materials found in the WOOLARD Residence. Both parcels were
13
     intercepted. On August 2, 2018, investigators obtained federal search warrants for the
14
     two additional parcels, one of which was addressed to Sadie BATES at 12118 Hwy 99 #J
15
     402, Everett, Washington, tracking number LY460463148CN, and one of which was
16
     addressed to Adrian BERGSTROM at 200 East Maple St Apt 507, Bellingham USA US
17
     98225, tracking number LY466322829CN.
18
            23.     The parcels were searched pursuant to the warrant. The contents of both
19
     parcels was submitted to the DEA laboratory for testing. According to the DEA
20
     laboratory, the contents of both parcels tested positive for Furanyl Fentanyl and the
21
     contents weighed approximately 99.4 grams and 99.6 grams.
22
                    Search of iPad seized from WOOLARD’s residence (October 2018).
23
            24.     Also seized from WOOLARD’s residence, as mentioned above, was an
24
     iPad. The search warrant signed by US Magistrate Judge Paula L. McCandlis on
25
     October 5, 2018, also authorized the search of this device. The “Owner Name” is listed
26
     as “Brad’s iPad” and the associated Apple ID is bradwoolard@ymail.com. As discussed
27
28
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 1 above, this is WOOLARD’s known Apple ID. Investigators located numerous photos
 2 stored in this device which depict WOOLARD and BRUNS.
 3         25.     Investigators reviewed iMessages between bradwoolard@ymail.com and
 4 1-425-404-1227, which is saved under the contact name “Tonny.” Based on the
 5 investigation to date, investigators believe this phone to be used by Anthony PELAYO.
 6 On January 29, 2017, WOOLARD and PELAYO exchanged several messages in which
 7 investigators concluded they were discussing PELAYO pressing a large quantity of pills
 8 before WOOLARD left town, and WOOLARD asking PELAYO to dispose of some old
 9 pill presses for WOOLARD.
10         26.     In other messages exchanged between WOOLARD and PELAYO between
11 January and February 2017, investigators believe that PELAYO told WOOLARD were
12 discussing a customer “Tim,” who complained about the potency of the illicit pills.
13 Investigators suspect “Tim” to be MANTIE. Investigators also believe the term “active,”
14 as used by WOOLARD, is a reference to the active ingredient in the pills, believed to be
15 fentanyl or a fentanyl analogue. Investigators believe that WOOLARD and PELAYO
16 discussed how to increase the potency of the pills that PELAYO was pressing on
17 WOOLARD’s behalf in response’s to MANTIE’s complaint about potency. The message
18 exchange concluded with WOOLARD providing PELAYO with an updated “recipe” for
19 the pills. Additionally, when PELAYO said, “I moved almost 2k so far and no one has
20 called me,” investigators believe that PELAYO told WOOLARD that PELAYO has
21 distributed 2,000 pills himself and they did not complain about the quality.
22         27.     On February 8, 2017, using the electronic devices, PELAYO sent a digital
23 photograph to WOOLARD of what investigators believe to be a pill press, followed by a
24 message that said “call me.” Investigators conducted an internet search for pill presses
25 with a similar appearance to what was seen in the photograph. Investigators identified a
26 RTP9 Rotary Tablet Press, sold by LFA Tablet Press that appeared consistent in
27 appearance to the above photograph. According to the LFA website, this pill press
28 weighs 260 kg or 485 pounds. Investigators have obtained court authorization for search
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 1 warrants on approximately 10 separate locations through the course of this investigation
 2 and have been unable to locate the pill press depicted in the above photograph or any
 3 other pill presses. Based on the messages between PELAYO and WOOLARD,
 4 investigators believe that PELAYO had access to and knew the location of the pill press
 5 utilized by WOOLARD and PELAYO to press fentanyl laced pills.
 6         28.     Between March 27 and March 20, 2017, WOOLARD and PELAYO
 7 exchanged other messages via their electronic devices in which they discussed, according
 8 to the investigators in this case, details of the charged conspiracy. Investigators also
 9 reviewed iMessages between bradwoolard@ymail.com and “Shawna Marie,” using
10 phone number 425-501-9209. Investigators identified a message dated January 29, 2017,
11 from “Shawna Marie,” which said “Kisses miss you tons. How are you doing” with a
12 photo of BRUNS attached. Based on my participation in this investigation, I am familiar
13 with BRUNS’ appearance, and I believe that “Shawna Marie” is Shawna Marie BRUNS,
14 WOOLARD’s wife.
15         29.     On January 30, 2017, via electronic devices, WOOLARD asked BRUNS to
16 send him a digital photograph. BRUNS responded by sending a digital screenshot
17 photograph which contained money transfer numbers (a Western Union Money Transfer
18 Number, also known as an “MTCN” number). The MTCN numbers in the photograph --
19 911-821-0080 and 035-559-6719 – match the MTCN numbers for co-conspirator Keith
20 STRAND’s two wire transfers on January 12, 2017, to Fengjun HUANG. The metadata
21 from this message indicates that the photograph was taken on January 29, 2017, at
22 4:47 p.m., using an iPhone 6s with no location data present.
23         30.     In January 2017, BRUNS and WOOLARD exchanged multiple e-mails
24 where they discussed where to find the emails WOOLARD was looking for. BRUNS
25 then sent another screenshot photograph, where she also include MTCN numbers.
26 WOOLARD and BRUNS continued to exchange messages in which WOOLARD
27 directed BRUNS where to find the emails. During that exchange, BRUNS sent three
28 photographs to WOOLARD. BRUNS then sent WOOLARD a photograph that had two
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 1 Western Union MTCN numbers in it. Investigators believe that in these messages
 2 BRUNS sent WOOLARD photographs of emails that WOOLARD had saved on a
 3 different phone. One photo included an email from greenchem201609@hotmail.com
 4 dated January 18, 2017, and refers to “EMS Express.” According to a Google search,
 5 EMS Express is an international express postal service. Based upon my participation in
 6 this investigation, I believe that in this email exchange, “Mary” was providing “Bronco
 7 Smith” with two tracking numbers for packages mailed from China that contained
 8 fentanyl (or its analogues).
 9         31.     I also noted that the emails depicted in photographs we observed on these
10 devices appear to originate from “Bronco Smith.” In light of the above, investigators
11 believe that WOOLARD was the user of the broncosmith69@gmail.com during this
12 conspiracy.
13         32.     Investigators also identified messages between PELAYO and WOOLARD
14 on March 20, 2017 which started when PELAYO said, “Hey Chano wants to kno if u
15 wanna go check out his arsenal” and WOOLARD affirmed. PELAYO then asked, “when
16 u wanna go down there” and WOOLARD replied, “maybe tomo.” PELAYO responded,
17 “ok lmk he will go whenever.” On March 25, 2017 WOOLARD received a message
18 from 425-299-6727, which is stored in WOOLARD’s contact list as “Chono.” This
19 message was a list of firearms, to include: a “d teckniks sa vz 61,” “Taurus raging judge,”
20 “Taurus pt 24/7,” “Walther ppk22,” “H&R 926 38,” “win 22 270,” “m&p 15,” and a
21 “socom 2.” The names of the firearms appear to match some of the firearms seized from
22 WOOLARD's residence in August 2018. The messages continued between WOOLARD
23 and “Chono” and based on the conversation they met later that day at WOOLARD’s
24 residence.
25         33.     Based, in part, on the messages between PELAYO and WOOLARD
26 described above, investigators believe “Chono” is the “Chano” referred to by PELAYO.
27 As discussed below, investigators believe “Chano” to be Jose LUGO. According to
28 AT&T records, 425-299-6727 is subscribed to Mitchell SPONG at 8406 72nd Place
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 1 Northeast, Marysville, Washington 98270 and was active from 4/27/2016 through
 2 September 2019.
 3                 Search Warrant on Google for account of broncosmith69@gmail.com
 4         34.     On or about March 18, 2019, investigators received records from Google.
 5 According to those records, broncosmith69@gmail.com is a Gmail email address in the
 6 name of “Bronco Smith” with Account ID 886914477346 which was created on April 4,
 7 2016 with the last logins dated June 6, 2018, March 21, 2018 and December 19, 2017.
 8 The listed “SMS” is 425-239-1748. Google records indicated that this account has access
 9 to the following services: Android, Gmail, Google Calendar, Google Chrome Sync,
10 Google Hangouts, Location History, Minutemaid, Web & App Activity and YouTube.
11         35.     Investigators searched the Washington Department of Licensing and did
12 not find any driver’s licenses or vehicles registered to “Bronco Smith,” as such,
13 investigators believe that “Bronco Smith” is a fictitious name.
14         36.     According to AT&T, 425-239-1748 was activated on April 4, 2016, and
15 was subscribed to Tracfone at 8390 Northwest 25th Street, Doral, Florida. This phone
16 was active until May 8, 2017. According to Tracfone records, this account has no listed
17 name or address and was active from April 4, 2016 through December 14, 2016;
18 however, the listed phone number on the account was 425-501-9209. As discussed
19 above, 425-501-9209 is the phone number used by BRUNS.
20         37.     On March 26, 2019, US Magistrate Judge Paula L. McCandlis authorized a
21 search warrant for the Google account, broncosmith69@gmail.com and
22 bradwoolard79@gmail.com. According to the data provided by Google, on June 28,
23 2018, “Mary,” using greenchem201609@hotmail.com, sent an email to WOOLARD,
24 using broncosmith69@gmail.com. This email contained quoted prior emails between the
25 two individuals. In a quoted email dated June 3, 2018, “Mary” said “Unit b is butyr-fent,
26 in stock.” Based on my training and experience I believe that “butyr-fent” is short hand
27 Butyrylfentanyl, an analogue of fentanyl. Additionally, I know Butyrylfentanyl is a
28 Schedule I controlled substance according to the DEA. Several quoted emails later,
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 1 WOOLARD sent “I’ll have addresses today. How my much is the 100g sample? Send a
 2 name I’ll western union the money.” “Mary” replied with the following:
 3       Hi friend,
   Good day!
 4
         Sorry for delaying replying.
 5       unit B: USD850 for 100g, including the shipping fee.
 6
           WU info:
 7         First Name：Dechao
 8         Last Name：Hu
           Address: King Tower, Changjiang Road, Gaoxin zone.
 9         City：Hefei
10         Province：Anhui
11         Zip code：230000
           Country：China
12         Phone： +86-14790436795
13
           Best regards,
14         Mary
15
16         38.     In this email, I believe “Mary” is directing WOOLARD to send $850 to
17 Dechao Hu in China as payment for 100g of Butryl-fentanyl. Additionally, this email
18 appears to be the same email that is depicted in a photograph located in WOOLARD’s
19 iCloud account.
20         39.     The quoted conversation continues on June 6, 2018 when “Mary” wrote, “I
21 have checked with lab again about unit 1, lab said, this time, they will make about 7kg,
22 do you need all pls??? pls confirm all the quantity that you need and reply me asap.”
23 WOOLARD replied, “I will but it all. Yes 7kg 140k.” “Mary” asked WOOLARD, “OK,
24 if you are sure and confirm, I will ask lab to make it asap. Do you still need 100 g unit b
25 pls??” WOOLARD replied, “I confirm I have the cash ready for unit 1. How long will it
26 take? Do I need unit b to fill orders while I wait??” “Mary” replied, “Need about 15 days
27 to make this batch of unit 1. Order unit B or not, depend on you. Another very very
28 important thing is: Hope you can prepare enough and different shipping addresses. If we
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 1 send unit 1 to one address frequently, both of us are not safe. pls understand.” Based on
 2 the emails discussed below, investigators believe that in these emails, WOOLARD
 3 ordered seven kilograms of fentanyl from “Mary.”
 4          40.    In an email dated June 27, 2018, WOOLARD sent “Please send three
 5 packages to each a week or more apart” to “Mary” with an attached photograph showing
 6 names and addresses for Sadie Bates, Cheryl Inglis, Raymond Jones, and Ed Banto,
 7 among others. On July 17, 2018, “Mary” sent an email with a subject of “Unit One” to
 8 WOOLARD. This message was a reply to a previous string of messages between the
 9 same two email accounts. The body of the email contained the follow list:
10          The 1st 100g tracking: LY422564353CN. (to Cheron Inglis)(labled BS621)
11          The 2nd 100g tracking: LY422564248CN. (to Cheryl Inglis)(labled BS623)
12          The 3rd 100g tracking: LY422564203CN. (to Raymond Jones)(labled BS626)
13          The 4th 100g tracking: LY428523365CN. (to Sadie Bates)(labled BS630)
14          The 5th 100g tracking: LY433444541CN. (to Adrian Bergstrom)(labled 704)
15          The 6th 100g tracking: LY433444524CN. (to Ed Banto)(labled 707)
16          The 7th 100g tracking: LY437968898CN. (to Raymond Jones)(labled 710)
17          The 8th 100g tracking: LY437968867CN. (to Cheron Inglis)(labled 713)
18          The 9th 100g tracking: EA363078747CN. (to Jessie Simmons)(labled 702)
19          The 10th 100g tracking: LY460463148CN. (to Sadie Bates)(labled 716)
20          41.    The 10th parcel on the list, with tracking number LY460463148CN, to
21 Sadie BATES, was seized by law enforcement. The contents were tested at the DEA
22 laboratory and found to be positive for furanyl fentanyl, weighing approximately 99
23 grams.
24          42.    Upon further review of the broncosmith69@gmail.com emails,
25 investigators identified an email dated April 5, 2016, which was forwarded from
26 bradwoolard79@gmail.com to broncosmith69@gmail.com. This email contains a string
27 of emails between WOOLARD and mary-ytchem@hotmail.com, as discussed below
28 investigators believe it to be used by the same “Mary” (the China-based source of supply)
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 1 that uses greenchem201609@hotmail.com. On April 27, 2016, “Mary” wrote, “How
 2 about pure fentanyl-Hcl white powder pls? It’s stronger than U47700 and Fu-F.”
 3 WOOLARD wrote back, “I just got some of that. It seams to be the best product. I am
 4 interested in that.” “Mary” replied, “fentanyl (we call ‘unit 1’ for safe): USD180 for 10g,
 5 USD550 for 50g, USD1000 for 100g, USD2400 for 260g, including the shipping fee,
 6 white crystalline powder, purity:99%.” WOOLARD replied, “I need to sample unit 1.”
 7 In September 2016, the DEA placed U-47700 into Schedule I. Additionally, as discussed
 8 above, “fu-f” is believed to be short hand for furanyl fentanyl. Investigators believe that
 9 “unit 1,” as referred to by WOOLARD and “Mary,” is fentanyl and that in the June 6,
10 2018, email, above, WOOLARD ordered seven kilograms of “unit 1”, i.e., fentanyl. In
11 light of the seized parcels shipped to BATES and BERGSTROM which contained
12 furanyl fentanyl, it appears that “Mary” shipped furanyl fentanyl, instead of fentanyl
13 requested by WOOLARD.
14         43.     In the broncosmith69@gmail.com emails, on July 18, 2018, WOOLARD
15 forwarded two emails to broncodavis69@gmail.com. Both of those emails contained
16 conversations between WOOLARD and greenchem201609@hotmail.com. One email
17 contained a Bitcoin address and the other email contained the July 17, 2018 email
18 described above. These two emails are the last two outgoing emails sent from the
19 broncosmith69@gmail.com email address. As detailed below, investigators believe that
20 WOOLARD switched from the broncosmith69@gmail.com email address to
21 broncodavis69@gmail.com at this time.
22                 Search Warrant on Microsoft for greenchem201609@hotmail.com
23         44.     As discussed above, investigators identified
24 greenchem201609@hotmail.com as the email of one of WOOLARD’s sources of supply,
25 believed to be in China. On March 26, 2019, US Magistrate Judge Paula L. McCandlis
26 authorized a search warrant for the Microsoft account, greenchem201609@hotmail.com.
27 On April 17, 2019, investigators received data from Microsoft in response to this search
28 warrant.
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 1         45.     During search of this data, investigators identified an email dated July 18,
 2 2018, from broncodavis69@gmail.com to greenchem201609@hotmail.com with the
 3 subject “Unit 1.” The body of this email said, “Bronco new safe email.” Based on this
 4 email and the above described forwarded emails from broncosmith69@gmail.com,
 5 investigators believe that WOOLARD changed email accounts to
 6 broncodavis69@gmail.com to communicate with his China source of supply.
 7         46.     In an email dated July 27, 2018, from greenchem201609@hotmail.com to
 8 broncodavis69@gmail.com, investigators identified that this email contained quoted
 9 conversation dating back to the July 18, 2018, email described above. In the quoted
10 conversations on July 23, 2018, WOOLARD wrote, “Is this real unit 1? I’m getting
11 negative feed back. Maybe its just not as strong?? It looks and smells different then
12 before.” The following day, “Mary” replied, “After you mailed me, we checked carefully
13 each step and each department, finally, we found out it was our fault, the engineer in the
14 lab did fuf, it’s not unit 1, (fuf approximately one fifth as potent as unit 1).” That
15 message continued with “Mary” telling how they would compensate WOOLARD for the
16 mistake. WOOLARD then wrote, “Ok thank you for letting me know. Ill look forward
17 to the new product” and “Ill still send more btcn once unit one is good. I want at least 3kg
18 and Ill get more addresses.” Based on these emails, investigators believe that
19 WOOLARD intended to order fentanyl but was shipped furanyl fentanyl instead.
20                 Search of Jerome Isham’s mobile phone
21         47.     In connection with this investigation, on August 3, 2018, Judge Brian A
22 Tsuchida signed a search warrant for co-conspirator Jerome ISHAM’s residence and
23 ISHAM’s vehicle. On the same date, investigators executed the search warrants.
24 Investigators recovered multiple documents that indicated that ISHAM resided at the
25 residence. Investigators recovered a firearm from the under the bed in the master
26 bedroom. A check on the serial number of the firearm indicated that it was stolen.
27         48.     Investigators also found numerous small plastic baggies which contained
28 small blue pills marked “M30.” These pills were located in multiple locations in the
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 1 master bedroom and near the floor of the kitchen. Investigators also seized a cell phone
 2 from ISHAM’s vehicle that was later searched.
 3         49.     On August 23, 2018, the Honorable Judge Paula L. McCandlis signed a
 4 search warrant authorizing the search of a phone seized from ISHAM during a previous
 5 search warrant. Investigators later searched the phone pursuant to the search warrant and
 6 found a conversation between ISHAM and a contact named “Tiny” with phone number
 7 425-314-3101. As mentioned above, investigators previously seized and searched cell
 8 phones belonging to PELAYO. A search of one of the phones seized from PELAYO had
 9 the listed Apple ID as “anthonypelayo@comcast.net” and MSISDN’s listed as 425-239-
10 8874, 425-404-1228, and 425-314-3101 indicating those phone numbers are either
11 currently, or had been registered or used with that phone in the past. The listed MSISDN,
12 425-314-3101, is the same phone number listed under the “Tiny” contact on ISHAM’s
13 phone. Because PELAYO was in possession of a phone that used the phone number 425-
14 314-3101, investigators believe PELAYO was the user of that phone number.
15 Investigators also believe that a conversation found on ISHAM’s phone on July 20, 2018,
16 was between PELAYO and ISHAM, about an incoming package to Sadie BATES that
17 investigators believe to be fentanyl. The conversation between ISHAM and PELAYO
18 about the package of fentanyl continued by text on July 22, 2018.
19         50.     Pursuant to the search warrant, investigators also found a text conversation
20 between ISHAM and LUGO. Based on the text message conversations between ISHAM
21 and PELAYO, and then ISHAM and LUGO, investigators believe that ISHAM picked up
22 a package containing fentanyl or a fentanyl analogue from Sadie BATES residence,
23 notified PELAYO, who in turn told ISHAM to reach out to LUGO. Investigators believe
24 that ISHAM then reached out to LUGO, and the two then made arrangements for LUGO
25 to pick up the package from ISHAM.
26                 Surveillance of Jose LUGO
27         51.     On June 5, 2019 at approximately 11:10 p.m., investigators observed
28 LUGO’s red Silverado parked in front of 1248 Cedar Avenue apartment 40, Marysville,
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 1 Washington. At approximately 11:37 p.m., investigators observed LUGO walk out of
 2 apartment 40, smoke a cigarette and walk back into apartment 40. Based on the late
 3 hour, investigators believed that to be the residence of LUGO.
 4         52.     On June 6, 2019, investigators again observed LUGO at 1248 Cedar
 5 Avenue, apartment 40, in Marysville. Additionally, on June 6, 2019, investigators
 6 conducted two ruses involving LUGO. In the first, an investigators pretended to be from
 7 a company that would be doing work around the apartment complex and asked LUGO if
 8 he was the resident of the Cedar Avenue apartment 40, LUGO stated that he was not but
 9 his girlfriend was. In the second, investigators had visual surveillance of LUGO, at the
10 same time, another investigator called 425-299-6727, the phone number suspected to be
11 used by LUGO, discussed above, and had a brief exchange with a male voice. LUGO
12 was observed answering the phone and hanging up a short time later. Based on that, and
13 combined with the conversations mentioned above, investigators believe LUGO to be the
14 user of 425-299-6727.
15                 Surveillance of Anthony PELAYO on March 25, 2019
16         53.     On March 25, 2019, investigators conducted physical surveillance of
17 PELAYO beginning at his residence at 3423 68th Drive Northeast, Marysville,
18 Washington (PELAYO’s residence). At approximately 12:11 p.m., investigators
19 observed a blue GMC pickup, bearing Washington license plate C58448L, park in the
20 driveway of PELAYO’s residence. According to the Washington department of
21 licensing, this vehicle is registered to Anthony R PELAYO at 3423 68th Drive Northeast,
22 Marysville, Washington (PELAYO’s residence). Investigators later positively identified
23 PELAYO as the driver of the vehicle via his Washington driver’s license photograph.
24         54.     At approximately 12:30 p.m., investigators observed PELAYO leave his
25 residence, driving the GMC pickup, and followed him to a residence a short distance
26 away. PELAYO remained at that residence until approximately 2:01 p.m., when
27 investigators observed PELAYO get into the passenger seat of a red Chevy Silverado.
28 The license plate of this vehicle was later identified as WA/WW09741. Investigators
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 1 observed the red Silverado drive away. Investigators lost sight of the red Silverado
 2 briefly until locating it a nearby O’Reilly auto parts. According to the Washington
 3 Department of Licensing, the red Silverado is registered to Jose LUGO at 4628 195th
 4 Street Northeast, Arlington, Washington and LUGO’s Washington driver’s license lists
 5 4628 195th Street Northeast, Arlington, Washington as his address.
 6         55.     According to NCIC, LUGO has a prior federal conviction for distribution
 7 of oxycodone and multiple convictions for possession of a controlled substance in Utah.
 8 Based on photos taken during surveillance, LUGO matches the physical description of
 9 the driver of the red Silverado. In the defendant’s sentencing memorandum related to
10 LUGO’s federal drug conviction, LUGO is identified as “Chano” in multiple attached
11 letters. Attached to the sentencing memorandum was a letter from “Tony PELAYO”
12 identifying himself as a friend of LUGO. Based on this information, investigators
13 believe LUGO to be the individual referred to as “Chano” in PELAYO’s messages,
14 discussed below, and referred to as “Chono” in WOOLARD’s messages above.
15         56.     Investigators continued to surveil PELAYO and LUGO as they drove to a
16 76 gas station and on to PELAYO’s residence. While at the 76 gas station investigators
17 took photographs of the red Silverado and observed that the red Silverado had a sticker
18 below on the rear window just below the rear taillight. They remained there for a short
19 amount of time before returning to the residence where PELAYO’s vehicle was parked.
20 PELAYO and LUGO remained at the residence as investigators terminated surveillance.
21         57.     On May 3, 2019, investigators again observed PELAYO and LUGO
22 together when they observed PELAYO and LUGO each driving two vehicles together
23 from Everett, Washington to PELAYO’s residence. Both LUGO and PELAYO were
24 later seen leaving PELAYO’s residence together.
25                 Search Warrant of PELAYO’s iCloud account (April 2019).
26         58.     On or about April 15, 2019, investigators received records from Apple.
27 Investigators reviewed these records which indicated that 425-404-1227 is the phone
28 number listed on an Apple account with the Apple ID of anthonypelayo@comcast.net.
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 1 This account has a customer name of Anthony PELAYO and an address of 3423 68th
 2 Drive Northeast, Marysville, Washington. The Apple records indicated that in September
 3 19, 2014, PELAYO purchased an iPhone 6 and in March 2016, the above account was
 4 changed to PELAYO’s name.
 5         59.     On April 29, 2019, US Magistrate Judge Brian A Tsuchida authorized a
 6 search warrant for PELAYO’s iCloud account. That search warrant was served
 7 electronically on Apple. In May 2019 investigators received the records from Apple.
 8         60.     The last text message recovered from PELAYO’s iCloud account was dated
 9 June 23, 2018. The following are text conversations between PELAYO and LUGO and
10 PELAYO and WOOLARD were reviewed during the search of PELAYO’s iCloud
11 account.
12         61.     On April 5, 2017, PELAYO texted LUGO (at 425-299-5727, LUGO’s
13 phone number) to say: “Tim gonna call and I’ll have u bring his order to Brad so Brad
14 can meet him if he calls.” LUGO replied “Ok.” Based on the investigation, as well as
15 training and experience, investigators believe that PELAYO instructed LUGO to take
16 “Tim’s”, who investigators believe is Tim MANTIE, order of counterfeit M30 pills to
17 WOOLARD so that WOOLARD can provide the pills to MANTIE
18         62.     On October 28, 2017, WOOLARD texted PELAYO and wrote, “Can I get
19 6000.” PELAYO subsequently replied, “This gonna take me a few hrs do u mind if send
20 chano . . . I can have chano grab em for my house and bring em to u so it’ll b faster.”
21 WOOLARD replied: “Please do bro or I can go get them.” PELAYO later texted: “I
22 guess chano went to my house already he otw [on the way] to u.” Based on the
23 investigation, as well as training and experience, investigators believe that PELAYO and
24 WOOLARD discuss having “chano”, who investigators believe is LUGO, take
25 WOOLARD 6,000 counterfeit M30 pills.
26         63.     On January 5, 2018, WOOLARD texted PELAYO “I need 7K tomorrow.”
27 PELAYO responded “Ok,” and then “He getting his hair cut then he goin to u,” to which
28 WOOLARD replies “Ok drew?” PEALYO replies “No Chano.” Later, PELAYO texted
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 1 WOOLARD, “But I told Chano to call u ASAP . . . but at least u can trust him to get
 2 something done,” to which WOOLARD replied “Already talk to him” and “Thank u.”
 3 Based on the investigation, as well as training and experience, investigators believe that
 4 LUGO, aka “Chano”, took 7,000 counterfeit M30 pills to WOOLARD.
 5         64.     On May 27, 2018, WOOLARD texted PELAYO “Yo can I get 2000
 6 sometime.” PELAYO responded “I’m still in Oregon but I can have Chano bring em to
 7 u,” and then “He is gonna call u.” Based on the investigation, as well as training and
 8 experience, investigators believe that WOOLARD asked PELAYO for 2000 counterfeit
 9 M30 pills and that PELAYO told WOOLARD said that LUGO, aka “Chano” could take
10 the pills to WOOLARD.
11                 Search Warrants at PELAYO’s residence (May 2019).
12         65.     On May 29, 2019, US Magistrate Judge Paula L. McCandlis signed search
13 warrants authorizing the search of two of PELAYO’s residences. On May 30, 2019,
14 investigators arrested PELAYO and executed these search warrants. During a pat down
15 of PELAYO’s person, investigators located a cell phone. Investigators advised PELAYO
16 of his Miranda Rights and PELAYO agreed to speak to investigators. PELAYO told
17 investigators that there was a firearm in the center console of his vehicle and signed
18 consent for investigators to search his vehicle. Found in PELAYO’s vehicle was a rose
19 gold Apple iPhone.
20         66.     Investigators subsequently made entry to PELAYO’s residence, located in
21 Marysville, Washington pursuant to the search warrant. During the search of the
22 residence, investigators found in the kitchen of the residence a pill bottle with the label
23 removed, which contained approximately 25 pills marked “M30.” These pills were
24 consistent in appearance with the pills seized from WOOLARD’s residence in July 2018.
25 Also found in the same drawer was approximately $19,461 in US Currency and a box of
26 Narcan nasal spray. Narcan is a trade name for naloxone and naloxone is a drug used to
27 block or reverse the effects of opioid drugs (fentanyl is an opioid). Based on my training
28 and experience I know that naloxone is frequently used to treat opioid overdose. Located
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 1 approximately 10 feet away, also in the kitchen, on top of the refrigerator was a Glock 19
 2 handgun with a loaded magazine in the weapon but no round in the chamber.
 3         67.     In a child’s bedroom, investigators located a bag which contained
 4 approximately $100,000. Next to the bag containing the $100,000, investigators found
 5 various documents, including two receipts for Western Union transactions from Robert
 6 TABARES sending $900 to Ting Zheng in China. Both transactions occurred on the
 7 same day, July 12, 2017, from two different locations; one location was Moneytree in
 8 Everett, Washington and the other Right Aid in Everett, Washington. Across the hallway
 9 from the child’s bedroom was the master bedroom. A safe was located in the master
10 bedroom and PELAYO unlocked the safe for investigators. Located within the safe was
11 a loaded revolver and another handgun. This handgun had also had a loaded magazine in
12 the weapon and no round in the chamber.
13         68.     Found in the garage of PELAYO’s residence were two digital scales, a
14 large industrial mixer, approximately 3 feet tall, and a gun safe which contained nine
15 firearms. Although the mixer appeared to be unused, PELAYO told investigators that the
16 mixer was used to make sauces.
17         69.     In total investigators seized approximately $129,201 in US Currency, 13
18 firearms, 25 pills suspected to contain fentanyl or a fentanyl analogue, five vehicles and
19 other evidence of drug trafficking from PELAYO’s residence on 68th Drive Northeast.
20         70.     Also during the search, investigators located an April 2019 invoice for
21 storage unit 7015 at the Clock Tower Self Storage, located at 9100 Highway 92, Lake
22 Stevens, Washington 98258, in the name “Raymond JONES”, at 3423 68th Drive
23 Northeast, Marysville, Washington, PELAYO’s address. Raymond JONES was the
24 recipient of two parcels from China, which investigators believe contained furanyl
25 fentanyl. The address those parcels was shipped to was 2405 Harrison Avenue, Everett,
26 Washington 98201.
27
28
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 1                  Documents Obtained for PELAYO’s storage locker (June 2019).
 2          71.     On June 5, 2019, investigators obtained records from Clock Tower Self
 3 Storage pertaining to unit 7015. These records, which included a rental agreement in the
 4 name Raymond JONES. The rental agreement lists 3423 68th Drive Northeast,
 5 Marysville, Washington 98270 as the address for JONES and 425-404-1227 as JONES’s
 6 phone number, as discussed above, these are the known address and phone number for
 7 PELAYO. This rental agreement was signed in November 2018. Investigators were
 8 provided a copy of a Florida driver’s license, number J520-010-86-06-0, in the name
 9 Raymond JONES. According to NCIC, there are no records for Florida driver’s license
10 number J520-010-86-06-0. The individual depicted on the driver’s license is PELAYO.
11 Based on the information discussed above, investigators believe that unit 7015 is rented
12 by PELAYO under the false name Raymond JONES. The records also indicate that on
13 May 6, 2019, a cash payment of $511 for unit 7015 and on May 30, 2019 an additional
14 $37.50 was paid. The records indicate that the storage unit is paid through December
15 2019.
16          72.     The records indicated that on May 30, 2019, the day of the search warrants
17 at PELAYO’s residence, PELAYO accessed a building at the Clock Tower Self Storage
18 at approximately 5:55 p.m. and again at approximately 9:56 p.m. At approximately
19 10:07 p.m. the records indicate that PELAYO used the exit keypad and at 10:08 p.m.,
20 LUGO’s red Silverado was observed driving out of the gate.
21          73.     Investigators viewed surveillance video of the Clock Tower Self Storage
22 and on May 30, 2019 around 10:00 p.m. a red pickup truck pulled into the Clock Tower
23 Self Storage. The license plate of the truck is not visible but a sticker on the rear window
24 just below the rear taillight is visible, this sticker is consistent with the sticker visible on
25 the rear window of LUGO’s red Silverado observed on March 25, 2019, discussed above.
26 Based on the physical appearance of the truck, this sticker and LUGO’s association with
27 PELAYO, investigators believe this truck to be LUGO’s red Silverado. The surveillance
28 video depicted an individual loading a heavy crate into the bed of LUGO’s red Silverado.
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 1 Investigators obtained a screen capture of that video. The crate appears to be the same
 2 crate that is depicted in the June 3 through 5, 2018 messages between PELAYO and
 3 TABARES identified in PELAYO’s iCloud account, discussed above. As discussed, this
 4 crate contained the mixer purchased by TABARES on behalf of PELAYO. Based on my
 5 training and experience, I know that such a mixer could be used while pressing fentanyl
 6 or fentanyl analogues into counterfeit pills.
 7         74.     On June 6, 2019, investigators obtained a search warrant for PELAYO’s
 8 storage locker. Investigators executed the search warrant the same day. No items were
 9 seized from the storage locker, however, investigators did see supplies for a marijuana
10 grow, to include grow lights, box and pots.
11                 Search of LUGO’s residence and Silverado (June 2019).
12         75.     On June 13, 2019, US Magistrate Judge Paula L. McCandlis signed search
13 warrants authorizing the search of LUGO’s residence and Chevy Silverado. On the same
14 day, investigators executed the search warrants.
15         76.     During the search of LUGO’s residence, investigators found two zip-lock
16 bags containing empty gelatin pill capsules, a digital scale in a box, and an unknown
17 white powder, suspected to be illegal drugs, in the false base of a compressed air canister.
18 Through training and experience, I know that drug traffickers often use hidden
19 compartments, such as described above, to conceal illegal drugs and/or money.
20         77.     During the search of LUGO’s Silverado, investigators found Target
21 Device 1 in the driver’s door pocket, a digital scale in the center console, and some
22 Washington State vehicle registration documents with PELAYO’s name on them.
23            V.     KNOWLEDGE BASED ON TRAINING AND EXPERIENCE
24         78.     Based on my training and experience, and my discussions with other
25 experienced officers and agents involved in drug and money laundering investigations, I
26 know the following:
27                 a.      Drug dealers and money launderers use cellular telephones as a tool
28 or instrumentality in committing their criminal activity. They use them to maintain
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 1 contact with their suppliers, distributors, and customers. They prefer cellular telephones
 2 because, first, they can be purchased without the location and personal information that
 3 land lines require. Second, they can be easily carried to permit the user maximum
 4 flexibility in meeting associates, avoiding police surveillance, and traveling to obtain or
 5 distribute drugs. Third, they can be passed between members of a drug conspiracy to
 6 allow substitution when one member leaves the area temporarily. I also know that it is
 7 common for drug traffickers to retain in their possession phones that they previously
 8 used, but have discontinued actively using, for their drug trafficking business. Based on
 9 my training and experience, the data maintained in a cellular telephone used by a drug
10 dealer is evidence of a crime or crimes. This includes the following:
11                 a.      The assigned number to the cellular telephone (known as the mobile
12 directory number or MDN), and the identifying telephone serial number (Electronic
13 Serial Number, or ESN), (Mobile Identification Number, or MIN), (International Mobile
14 Subscriber Identity, or IMSI), or (International Mobile Equipment Identity, or IMEI) are
15 important evidence because they reveal the service provider, allow us to obtain subscriber
16 information, and uniquely identify the telephone. This information can be used to obtain
17 toll records, to identify contacts by this telephone with other cellular telephones used by
18 co-conspirators, to identify other telephones used by the same subscriber or purchased as
19 part of a package, and to confirm if the telephone was contacted by a cooperating source
20 or was intercepted on a wiretap here or in another district.
21                 b.      The stored list of recent received calls and sent calls is important
22 evidence. It identifies telephones recently in contact with the telephone user. This is
23 valuable information in a drug investigation because it will identify telephones used by
24 other members of the organization, such as suppliers, distributors, and customers, and it
25 confirms the date and time of contacts. If the user is under surveillance, it identifies what
26 number he called during or around the time of a drug transaction or surveilled meeting.
27 Even if a contact involves a telephone user not part of the conspiracy, the information is
28 helpful (and thus is evidence) because it leads to friends and associates of the user who
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 1 can identify the user, help locate the user, and provide information about the user.
 2 Identifying a defendant’s law-abiding friends is often just as useful as identifying his
 3 drug-trafficking associates.
 4                 c.      Stored text messages are important evidence, similar to stored
 5 numbers. Agents can identify both drug associates, and friends of the user who likely
 6 have helpful information about the user, his location, and his activities.
 7                 d.      Photographs and videos on cameras, cellular telephones and other
 8 electronic devices such as thumb drives can be evidence because they help identify the
 9 user, either through his or her own picture, or through pictures of friends, family, and
10 associates that can identify the user. Pictures also identify associates likely to be members
11 of the drug trafficking organization. Some drug dealers photograph groups of associates,
12 sometimes posing with weapons and showing identifiable gang signs. Also, digital photos
13 often have embedded “geocode” information within them. Geocode information is
14 typically the longitude and latitude where the photo was taken. Showing where the photo
15 was taken can have evidentiary value. This location information is helpful because, for
16 example, it can show where coconspirators meet, where they travel, and where assets
17 might be located.
18                 e.      Stored address records are important evidence because they show the
19 user’s close associates and family members, and they contain names and nicknames
20 connected to phone numbers that can be used to identify suspects.
21                 f.      It is common for drug traffickers and money launders to use
22 encrypted means of communication, such as WhatsApp, Signal, Wickr, and Telegram, to
23 attempt to avoid detection by law enforcement. It is common for drug traffickers to
24 install and use these apps on their phones in order to make encrypted calls and send
25 encrypted messages.
26         79.     Based on my training and experience, and my discussions with other
27 experienced officers and agents involved in drug and money laundering investigations, I
28 know thumb drives (such as Target Device 2) are commonly used to store photos and
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 1 videos, as well as a variety of other materials (whether as a Word document, a PDF, or a
 2 spreadsheet) that may constitute evidence of the aforementioned crimes of investigation.
 3                                       VI.   CONCLUSION
 4         80.     Based on the information set forth herein, there is probable cause to search
 5 Target Device 1, as further described in Attachment A, for evidence, fruits and
 6 instrumentalities, as further described in Attachment B1, and Target Devices 2 and 3, as
 7 further described in Attachment A, for evidence, fruits and instrumentalities, as further
 8 described in Attachment B2, of crimes committed by WOOLARD, LUGO, and their
 9 coconspirators, specifically Distribution of, and Possession with Intent to Distribute,
10 Controlled Substances, in violation of 21 U.S.C. § 841(a)(1); and Conspiracy to
11 Distribute, and to Possess with the Intent to Distribute, Controlled Substances, in
12 violation of 21 U.S.C. §§ 841(a)(1), and 846, Money Laundering, in violation of 18
13 U.S.C. § 1956; and Possession of a Firearm in Furtherance of Drug Trafficking, in
14 violation of 18 U.S.C. § 924(c). I therefore request that the Court issue warrants
15 authorizing a search of Target Device 1, further described in Attachment A, for the items
16 listed in Attachment B1, and Target Devices 2 and 3, further described in Attachment A,
17 for the items listed in Attachment B2, and authorizing the seizure and examination of
18 items as detailed therein.
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1                                            ATTACHMENT A
2                                  (Target Devices to be Searched)
3          The Target Devices to be searched are further described as follows:
4
                   a. Target Device 1 is a black ZTE flip phone, which was seized pursuant
5
                       to a search warrant on June 13, 2019, from a Chevy Silverado registered
6
                       to Jose LUGO. Target Device 1 was assigned DEA exhibit number
7
                       N-902 and is currently stored as evidence at the DEA Bellingham
8
                       Resident Office.
9
                   b. Target Device 2 is a SanDisk thumb drive, which was seized pursuant
10
                       to a search warrant on August 16, 2019, from the residence of Bradley
11
                       WOOLARD, located at 9717 99th Avenue Northeast, Arlington,
12
                       Washington. Target Device 2 was assigned DEA exhibit number N-304
13
                       and is currently stored as evidence at the DEA Bellingham Resident
14
                       Office.
15
                   c. Target Device 3 is an Olympus camera and was seized on August 16,
16
                       2019, from the residence of Bradley WOOLARD, located at 9717 99th
17
                       Avenue Northeast, Arlington, Washington. Target Device 3 was
18
                       assigned DEA exhibit number N-316 and is currently being stored as
19
                       evidence at the DEA Bellingham Resident Office.
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 1                                           ATTACHMENT B1
 2                              (Items to be Searched for and Seized)
 3 This warrant authorizes the search for the following items in Target Device 1, as further
   described in Attachment A:
 4
 5        Evidence, fruits, and/or instrumentalities of the commission of the following
   crimes: Conspiracy to Distribute Controlled Substances and Possession with Intent to
 6
   Distribute Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1) and 846; Money
 7 Laundering, in violation of 18 U.S.C. § 1956; and Possession of a Firearm in
   Furtherance of Drug Trafficking Offenses, 18 U.S.C. § 924(c), specifically:
 8
 9                 a.      Assigned number and identifying telephone serial number (ESN,
10 MIN, IMSI, or IMEI);
11                 b.      Stored list of recent received, sent, or missed calls;
12                 c.      Stored contact information;
13                 d.      Stored photographs and videos of narcotics, currency, financial
14 records, firearms or other weapons, evidence of the aforementioned crimes of
15 investigation, and/or that may show the user of the phone and/or coconspirators,
16 including any embedded GPS data associated therewith; and
17                 e.      Stored text messages that are evidence of the above-listed federal
18 crimes or that may identify the user of Target Device 1 and/or coconspirators, including
19 messages sent via messaging apps, including Wickr, Signal, WhatsApp, and Telegram, or
20 other similar messaging services where the data is stored on the telephone.
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 1                                        ATTACHMENT B2
                                 (Items to be Searched for and Seized)
 2
 3                This warrant authorizes the search for the following items in Target
     Devices 2 and 3, as further described in Attachment A:
 4
 5        Evidence, fruits, and/or instrumentalities of the commission of the following
   crimes: Conspiracy to Distribute Controlled Substances and Possession with Intent to
 6
   Distribute Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1) and 846; Money
 7 Laundering, in violation of 18 U.S.C. § 1956; and Possession of a Firearm in
   Furtherance of Drug Trafficking Offenses, 18 U.S.C. § 924(c), specifically:
 8
 9        a.     Evidence that serves to identify any person who has used or accessed the
   Target Device or who has exercised in any way any dominion or control over the Target
10
   Device;
11
          b.     Stored photographs and videos of narcotics, currency, financial records,
12
   firearms or other weapons, evidence of the aforementioned crimes of investigation,
13 and/or that may show the user of the phone and/or coconspirators, including any
   embedded GPS data associated therewith;
14
15        c.     Evidence that may identify any coconspirators/aiders and abettors,
   including evidence that help reveal their whereabouts and including evidence of
16
   relationship(s).
17
          d.     Evidence, records and information relating to the aforementioned
18
   conspiracy to distribute controlled substances, money laundering, and firearms and other
19 dangerous weapons or ammunition.
20
          e.     Evidence, records and information relating to expenditures of money and
21 wealth, financial profits, proceeds, and instrumentalities of money laundering, and
   financial profits and proceeds of trafficking in narcotics, including currency and other
22
   items of value.
23
   As used in this Attachment, the terms “records” and “information” include all of the
24
   foregoing items of evidence in whatever form and by whatever means they may have
25 been created or stored, including any form of computer or electronic storage and any
   photographic form.
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 1                                           ATTACHMENT A
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                   b. Target Device 2 is a SanDisk thumb drive, which was seized pursuant
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                       to a search warrant on August 16, 2019, from the residence of Bradley
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                       WOOLARD, located at 9717 99th Avenue Northeast, Arlington,
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                       Washington. Target Device 2 was assigned DEA exhibit number N-304
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                       and is currently stored as evidence at the DEA Bellingham Resident
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                       Office.
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                   c. Target Device 3 is an Olympus camera and was seized on August 16,
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                       2019, from the residence of Bradley WOOLARD, located at 9717 99th
17
                       Avenue Northeast, Arlington, Washington. Target Device 3 was
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                       assigned DEA exhibit number N-316 and is currently being stored as
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                       evidence at the DEA Bellingham Resident Office.
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 1                                           ATTACHMENT B1
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   Distribute Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1) and 846; Money
 7 Laundering, in violation of 18 U.S.C. § 1956; and Possession of a Firearm in
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 9                 a.      Assigned number and identifying telephone serial number (ESN,
10 MIN, IMSI, or IMEI);
11                 b.      Stored list of recent received, sent, or missed calls;
12                 c.      Stored contact information;
13                 d.      Stored photographs and videos of narcotics, currency, financial
14 records, firearms or other weapons, evidence of the aforementioned crimes of
15 investigation, and/or that may show the user of the phone and/or coconspirators,
16 including any embedded GPS data associated therewith; and
17                 e.      Stored text messages that are evidence of the above-listed federal
18 crimes or that may identify the user of Target Device 1 and/or coconspirators, including
19 messages sent via messaging apps, including Wickr, Signal, WhatsApp, and Telegram, or
20 other similar messaging services where the data is stored on the telephone.
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 1                                        ATTACHMENT B2
                                 (Items to be Searched for and Seized)
 2
 3                This warrant authorizes the search for the following items in Target
     Devices 2 and 3, as further described in Attachment A:
 4
 5        Evidence, fruits, and/or instrumentalities of the commission of the following
   crimes: Conspiracy to Distribute Controlled Substances and Possession with Intent to
 6
   Distribute Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1) and 846; Money
 7 Laundering, in violation of 18 U.S.C. § 1956; and Possession of a Firearm in
   Furtherance of Drug Trafficking Offenses, 18 U.S.C. § 924(c), specifically:
 8
 9        a.     Evidence that serves to identify any person who has used or accessed the
   Target Device or who has exercised in any way any dominion or control over the Target
10
   Device;
11
          b.     Stored photographs and videos of narcotics, currency, financial records,
12
   firearms or other weapons, evidence of the aforementioned crimes of investigation,
13 and/or that may show the user of the phone and/or coconspirators, including any
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15        c.     Evidence that may identify any coconspirators/aiders and abettors,
   including evidence that help reveal their whereabouts and including evidence of
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          d.     Evidence, records and information relating to the aforementioned
18
   conspiracy to distribute controlled substances, money laundering, and firearms and other
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   items of value.
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   As used in this Attachment, the terms “records” and “information” include all of the
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